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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION



UNITED STATES OF AMERICA

                                                              CR 1:15-077

HENRY LEE WASHINGTON




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      David M. Stewart having made application to the Court for a leave of absence,

and it being evident from the application that the provisions of Local Rule 83.9 have

been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT David M. Stewart be granted leave of

absence for the following periods: July 18, 2016 through August 3, 2016.

      This C><& dayof June, 2016.




                                       HONORABLE-^. RANDAL HALL
                                       United Sftates District Judge
                                            lern District of Georgia
